     Case 2:05-cr-00578-JFW Document 754 Filed 01/23/06 Page 1 of 5 Page ID #:29593



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11   (   United States of America

12                            UNITED STATES DISTRICT COURT

13                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

14        UNITED STATES OF AMERICA,           CR NO. 05-578(A) -JFW

15            Plaintiff,                      STATUS REPORT CONCERNING
                                              AVAILABILITY OF COUNSEL
16            v.

17        RAFAEL YEPIZ, et al.,

18            Defendants.

19

20            Plaintiff, United States of America, by and through its

21       counsel of record, Assistant United States Attorneys Mark Young,

22       Peter Hernandez, and David Kowal, hereby respectfully submits a

23       status report concerning counsel's availability to proceed to

24       trial in the above-referenced matter on August 8, 2006, and

25       comply with the motions filing cutoff dates and hearing set forth

26       in the Court's August 26, 2005 order.

27           The government has spoken to counsel for 5 of the

28       defendants charged in the First Supersedin~~        i~,t~'rr~Pnt,;
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     Case 2:05-cr-00578-JFW Document 754 Filed 01/23/06 Page 2 of 5 Page ID #:29594



 1 ~~ this filing, the government had not communicated with Fredricco

 2    McCurry, Esq., counsel for Mariano Meza, concerning the trial and

 3   motion dates.     As soon as the government speaks with Mr. McCurry,

 4    which should be in the next day or so, the government will file a

 5   further status report regarding Mr. McCurry's status.

 6           With respect to the counsel for the remaining defendants,

 7   all are agreeable with the August 8, 2006 trial date.            Counsel

 8   for defendant James Garcia, Judith Rocklin, Esq., has no

 9   opposition to the proposed dates, but adds that she has no

10   opposition to such dates so long as she get the remaining

11   discovery (specifically, the audio/videotape recordings of post

12   arrest statements made by her client) by January 31, 2006.             The

13   government anticipates that this outstanding discovery will be

14   produced by such date.      Additionally, counsel for defendant Bruno

15   Vasquez believes the motion cut off date will be difficult to

16   meet, but it may be possible for him to have his motions ready

17   for filing by that date.       He further adds that he is committed to

18   the August 8, 2006 trial date.        Counsel for defendants Johnny

19   Velasquez Yribe and Erwin Deleon are agreeable to both dates, and

20   defendant Adrian Manzo' counsel is also agreeable to the trial

21   date.    I have not been able to communicate with Mr. Treman, Esq.,

22   counsel for defendant Manzo, prior to this filing to determine

23   his position with respect to the various motions dates.

24         The government has circulated a proposed stipulation

25   regarding the trial and motions dates and excludable Speedy Trial

26   Act findings to counsel for the six new defendants.           It has
27   informed counsel that it wants a response to the proposed

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     Case 2:05-cr-00578-JFW Document 754 Filed 01/23/06 Page 3 of 5 Page ID #:29595



 1   stipulation by January 26, 2006.         Accordingly, if it receives the

 2   stipulation back from counsel for the new defendants, the

 3   government will promptly file the stipulation to the trial and

 4   motion dates.

 5

 6 IODATED: January 23, 2006            Respectfully submitted,

 7                                      DEBRA WONG YANG
                                        United States Attorney
 8
                                        THOMAS P. O'BRIEN
 9                                      Assistant United States Attorney
                                        Chief, Criminal Division
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13                                      ~vxx A . YouivU
                                        PETER A. HERNANDEZ
14                                      DAVID P. KOWAL
                                        Assistant United States Attorney
15                                      Narcotics Section

16                                            Attorneys for Plaintiff
                                              United States of America
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     Case 2:05-cr-00578-JFW Document 754 Filed 01/23/06 Page 4 of 5 Page ID #:29596



 1                                    CERTIFICATE OF SERVICE

 2    DECLARE:


 3         THAT I AM A CITIZEN OF THE UNITED STATES AND RESIDENT OR EMPLOYED IN LOS ANGELES


 4   COUNTY, CALIFORNIA; THAT MY BUSINESS ADDRESS IS THE OFFICE OF UNITED STATES ATTORNEY,


 5   U NITED STATES COURTHOUSE, 3 12 N. SPRING STREET, LOS ANGELES, CALIFORNIA gOO 12;


 6   THAT I AM OVER THE AGE OF EIGHTEEN YEARS, AND AM NOT A PARTY TO THE ABOVE-ENTITLED


 7   ACTION;


 8         THAT I AM EMPLOYED BY THE UNITED STATES ATTORNEY FOR THE CENTRAL DISTRICT OF


 9   CALIFORNIA WHO IS A MEMBER OF THE BAR OF THE UNITED STATES DISTRICT COURT FOR THE


10   CENTRAL DISTRICT OF CALIFORNIA, AT WHOSE DIRECTION I SERVED A COPY OF:


11                    STATUS REPORT CONCERNING AVAILABILITY OF COUNSEL

12   SERVICE WAS:


13   I ~ PLACED IN A CLOSED ENVELOPE FOR               LX~ PLACED IN A SEALED ENVELOPE FOR
     COLLECTION ~ INTEROFFICE DELIVERY                 COLLECTION ~ MAILING VIA UNITED STATES
14   ADDRESSED AS FOLLOWS                              MAIL, ADDRESSED AS FOLLOWS:


15   L ~ BY HAND DELIVERY ADDRESSED AS                 L ~ BY FACSIMILE AS FOLLOWS:
     Fo~~ows: BY AUSA IN COURT
16
     L ~ BY MESSENGER AS FOLLOWS:                      L ~ BY FEDERAL EXPRESS AS FOLLOWS:
17

18                              -SEE ATTACHED SERVICE LIST-

19
           THIS CERTIFICATE IS EXECUTED ON   JANUARY   23, 2006, AT   LOS ANGELES, CALIFORNIA.
20
               CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND CORRECT.
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22                                                                    ~1,~`:
23                                                           ROLAND HERNANDEZ


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     Case 2:05-cr-00578-JFW Document 754 Filed 01/23/06 Page 5 of 5 Page ID #:29597



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28   As of 01/20/06
